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                       IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                             CORPUS CHRISTI DIVISION

MARIA PENA                                        §
                                                  §
                      Complainant                 §
                                                  §
VS.                                               §    CIVIL ACTION NO. 2:21-cv-55
                                                  §
HOME DEPOT U.S.A., Inc.                           §    JURY TRIAL DEMANDED
                                                  §
                      Defendant                   §


                                  ORIGINAL COMPLAINT

       COMES NOW, Complainant, Maria Pena, and files this action against Defendant, Home

Depot U.S.A., Inc. (“Home Depot”) and alleges as follows:

1.0    INTRODUCTION

       1.1     This is a premises liability cause of action causing serious personal injuries to

Complainant, Maria Pena, which occurred on or about March 29, 2019, at Home Depot Store

Number 6584, located in Nueces County, Texas.

2.0    PARTIES

       2.1     Complainant, Maria Pena, is a resident of Corpus Christi, Nueces County, Texas.

       2.2     Defendant, Home Depot U.S.A., Inc., is a Delaware Corporation with its principle

place of business in Atlanta, Georgia, and may be served with citation through its Registered

Agent, Corporation Service Company d/b/a CSC-Lawyers Incorporating Service Company, 211

E. 7th Street, Suite 620, Austin, TX 78701.

3.0    JURISDICTION

       3.1     This Court has original jurisdiction of this action under 28 U.S.C., § 1332.




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       3.2     Defendant, Home Depot U.S.A., Inc. (“Home Depot”), is a Delaware corporation

with its principal place of business in some state other than Texas, thereby creating a diversity of

citizenship between Complainant and Defendant.

       3.3     The amount in controversy, exclusive of interest and costs, exceeds the sum of

$75,000.00.

4.0    VENUE

       4.1     The United States District Court, Southern District of Texas, Corpus Christi

Division, maintains jurisdiction over the following Texas counties: Aransas, Bee, Brooks, Duval,

Jim Wells, Kenedy, Kleberg, Live Oak, Nueces and San Patricio.

       4.2     Venue is proper in the United States District Court, Southern District of Texas,

Corpus Christi Division because a substantial part of the events giving rise to the claim made the

basis of this cause of action occurred in Nueces, County, Texas which lies in the Southern District

of Texas pursuant to 28 U.S.C. § 1391(b)(2).

5.0    FACTS

       5.1     On March 29, 2019, at approximately 2:17 p.m., Ms. Pena and her relative were

shopping for goods in the outdoor garden section of Home Depot Store No. 6584, located in Corpus

Christi, Nueces County, Texas. Ms. Pena was shopping in aisle 50 which was exposed to the

outdoors and faced the outdoor parking area in front of the Home Depot store.

       5.2     While Ms. Pena was shopping in the outdoor aisle, suddenly and without warning,

an approximately 2.5-pound aqua colored flower planter fell from the uppermost shelf

(approximately 7ft. above the floor) and struck the top of Ms. Pena’s head. Almost immediately

thereafter, another stack of three larger blue planters (each weighing approximately 3 lbs.) fell

from the same shelf, striking Ms. Pena again on the top of her head. Mrs. Pena experienced pain

in her head and neck and sat down on the floor. A Home Depot garden department cashier heard

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the pots crash to the ground and came over to investigate. A Home Depot manager on duty then

came and escorted Ms. Pena to a waiting area, sat her down and provided an ice pack for her head.

Ms. Pena provided information so the manager could complete a Home Depot Incident Report.

       5.3     Ms. Pena’s head pain continued to intensify and she began experiencing dizziness

and nausea. Ms. Pena’s husband arrived and immediately transported Ms. Pena to Christus Spohn

– South Hospital for treatment of her head and neck injuries. Mrs. Pena was diagnosed with an

unspecified head injury, contusion of her scalp and cervical radiculopathy at the hospital. Mrs.

Pena sought follow-up care with Robert Vela, M.D., Humpal Physical Therapy, Andrew

Indresano, M.D. – Orthopedic Specialist, True Medical Imaging (MRI) and Wilson Velasquez,

M.D. – Pain Management Specialist. Mrs. Pena injuries included a traumatic brain injury and four

(4) cervical disc herniations.

       5.4     The serious injuries and damages suffered by Mrs. Pena as a result of this incident

were proximately caused by the negligence of Home Depot and its employee(s) as set forth herein.

6.0    CAUSE OF ACTION – PREMISES LIABILITY

       6.1     Home Depot is the owner of the premises, or alternatively, in possession of the

premises at 4038 South Port Avenue, Corpus Christi, Nueces County, Texas where the incident

made the basis of this cause of action occurred.

       6.2     Ms. Pena was an invitee on March 29, 2019, when she entered Home Depot.

       6.3     Ms. Pena entered Home Depot’s premises at Home Depot’s invitation for their

mutual economic benefit.

       6.4     The highly stacked planters in the Home Depot outdoor garden section created an

unreasonable risk of harm to Ms. Pena and customers like Ms. Pena because the planters were not

secured to prevent them from falling off the shelves and hitting customers in windy conditions.



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       6.5    Home Depot and its employees, servants and/or agents, created, knew or reasonably

should have known the highly stacked unsecured planters in the Home Depot garden section posed

an unreasonable risk of harm to Ms. Pena and other customers, like Ms. Pena.

       6.6    Home Depot had a duty of care to adequately warn Ms. Pena of the highly stacked

unsecured planters or to make the highly stacked unsecured planters reasonably safe.

       6.7    Home Depot’s breach of these duties was the proximate cause of the planters falling

and striking Ms. Pena on the head, and the injuries and damages suffered by Ms. Pena.

       6.8    Home Depot’s wrongful acts, errors, omissions, neglect and carelessness, as set

forth in the preceding paragraphs were the proximate cause of Ms. Pena’s injuries and damages.

7.0    DAMAGES

       7.1    As a result of Defendant, Home Depot’s negligence, Complainant, Maria Pena,

suffered the following damages:

              a.      Medical expenses in the past;

              b.      Medical expenses that, in reasonable probability, she will suffer in the
                      future;

              c.      Loss of earning capacity in the past;

              d.      Loss of earning capacity that, in reasonable probability, she will suffer in
                      the future;

              e.      Physical impairment in the past;

              f.      Physical impairment that, in reasonable probability, she will suffer in the
                      future;

              g.      Mental impairment in the past;

              h.      Mental impairment that, in reasonable probability, she will suffer in the
                      future;

              i.      Pain and suffering in the past;



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               j.      Pain and suffering that, in reasonable probability, she will suffer in the
                       future;

               k.      Mental anguish in the past; and

               l.      Mental anguish, that in reasonable probability, she will suffer in the future.

8.0    JURY TRIAL

       8.1     Complainant hereby requests a trial by jury, pursuant to the United States

Constitution 7th Amendment.

9.0    PRAYER

       9.1     WHEREFORE, PREMISES CONSIDERED, Complainant respectfully requests

that Defendant be served with citation and after a jury trial herein, Complainant has and recovers

against Defendant the following relief:

       a. Judgment against Defendant for all of Complainant’s actual damages as determined by
          the evidence;

       b. Pre-judgment and post-judgment interest as provided by law;

       c. Costs of court as provided by law; and

       d. Such other relief to which Complainant may be entitled.

                                              Respectfully submitted,

                                              ERSKINE & BLACKBURN, P.L.L.C.


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